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U.S. Department of Justice

Carmen M. Ortiz
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

June 24, 2015
William J. Lovett, Esq.
Collora, LLP
100 High Street, 20" Floor
Boston, MA 02110

Re: — Review of Firm Records Subject to Subpoena
Dear Mr. Lovett,

This will confirm the privilege review procedure with respect to business records stored
on a computer server used to backup business records by the former firm of Gibson and Behman.
It is the goal of your client, Mr. Behman, and our office to segregate documents and records
which pertain to financial matters pertinent to the ongoing grand jury investigation from those
which (1) are not pertinent or (2) may involve legal advice to clients. Towards this end, we have
agreed to the following protocol:

Agent Mullett and an IRS-CI Computer Investigative Specialist (CIS) will make two
complete images of the server. They will maintain one in a sealed evidence bag and
access it only if it is necessary to do so in a subsequent criminal proceeding.

IRS-CI will process the second image (the “working copy”) through CIS analytic
software for the purpose of creating a list of all files which appear to satisfy the grand
jury’s subpoenas (the “initially identified files”). To the extent they can be identified by
name, an effort will be made to electronically exclude privileged materials. A report will
be generated listing the initially identified files (the “file list”); the IRS will not examine
the content of the files at this time.

The IRS will provide you with a copy of the file list and a disc containing the initially
identified files so that your firm and client can review and confirm that they (1) fall
within the categories specified by the grand jury’s subpoenas and (2) are not privileged.
After the review is completed, you will provide the IRS with a list of any files either (1)
not covered by a subpoena or (2) privileged and a new copy of the disc will be made
without them. The disc provided to you for review and the working copy of the server
will be left with, and stored by, your firm.
 

 

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Please indicate your agreement below and return a copy to me.
Regards,

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Assistant U.S. Attorney

Agreed:

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William J. Lovett, Esq.
